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                             SIM & DEPAOLA LLP
                                         Attorneys-at-Law
                                  42-40 Bell Boulevard – Suite 405
                                     Bayside, New York 11361
                                           (718) 281-0400

                                                                               April 6, 2023
VIA ECF
Honorable Denise L. Cote
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

                       Re:     Damien Guarniere v. City of New York, et al.
                               Docket No. 21-cv-1739 (DLC)

Your Honorable Judge Cote,
        The Plaintiff, Mr. Damien Guarniere, by the undersigned counsel, pursuant to the Orders
of the Court, dated April 3, 2023 (Doc. 97 and Doc. 98), respectfully submits this letter in
opposition to the City’s letter motion to dismiss this action for failure to prosecute, under Rule
41(b) of the Federal Rules of Civil Procedure, to show cause why Plaintiff’s proposed witnesses,
including Ms. Foto Athansidisis, should not be stricken, and why Plaintiff should be permitted to
offer documentary evidence at trial.

        It is respectfully submitted that this action should not be dismissed for failure to prosecute
because “the sanction of dismissal with prejudice…must be supported by ‘clear evidence’ of
misconduct and ‘a high degree of specificity in the factual findings.”’ Mitchell v. Lyons Prof'l
Servs., Inc., 708 F.3d 463 (2d Cir. 2013) (internal citations omitted)). The City has not adduced to
anything in the record that even remotely resembles “clear evidence” of misconduct. The most
egregious allegation is the untimely filing of Plaintiff’s portion of the Joint Pretrial Order, by only
3-hours. Otherwise, the City improperly attempts to benefit a second time from motions that were
already decided in its favor, such as Plaintiff’s motion to extend discovery for the purpose of
deposing Defendant Ibrahim and his request for an extension of time to oppose defendants’ partial
motions for summary judgment.

        The Second Circuit has further cautioned “that the sanction of dismissal with prejudice has
harsh consequences for clients, who may be blameless, it should be used only in ‘extreme
situations,’ and even then, only upon a finding ‘of willfulness, bad faith, or reasonably serious
fault.” Mitchell v. Lyons Prof'l Servs., Inc., 708 F.3d 463, 467 (2d Cir. 2013) (internal citations
omitted). As the Plaintiff is similarly blameless here, it is respectfully submitted that the dismissal
of the action is not warranted.
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        Further, defendants improperly demanded production of Plaintiff’s portions of the pretrial
order. All requests to provide support for this demand were refused. Plaintiff also advised
defendants that the spirit and intent of the Rules do not appear to favor such an adversarial
approach. The Advisory Committee Notes on the 2015 Amendment to Rule 1 of the Federal Rules
of Civil Procedure, clarify that:

       Rule 1 is amended to emphasize that just as the court should construe and
       administer these rules to secure the just, speedy, and inexpensive determination of
       every action, so the parties share the responsibility to employ the rules in the same
       way. Most lawyers and parties cooperate to achieve these ends. But discussions of
       ways to improve the administration of civil justice regularly include pleas to
       discourage over-use, misuse, and abuse of procedural tools that increase cost and
       result in delay.

Fed. R. Civ. P. 1 Committee Notes on Rules-2015 Amendment

        Accordingly, the City’s relentless use of procedural gamesmanship to divest legitimate and
viable claims from injured plaintiffs represents the only real “perturbing pattern” of misconduct.
Although Plaintiff and counsel strive to comply with every rule or order of the Court, lapses and
oversights have occurred and will occur again. The unfortunate reality is that pandemic induced
shutdown and subsequent reopening of the entire court system at the same time has been
particularly difficult to navigate for smaller firms due to increased caseloads without concomitant
increases in case resolutions or available workforce. Attorneys with relevant federal or any court
experience have become increasingly rare and in very short supply.

        Moreover, as the City has indisputably benefitted immensely from the prior alleged
misconduct of Plaintiff, the City cannot seriously claim any prejudicial effects. As prejudice is
major factor to be considered and weighed, it is respectfully submitted that the complete absence
of prejudice precludes dismissal here.

       Plaintiff does not intend or expect to admit any physical evidence or call any witnesses that
would result in undue surprise or other prejudice to defendants. Plaintiff is not aware of any
document or witness that could result in any prejudice to defendants. It is axiomatic, however, that
prejudice will most assuredly result if plaintiff is not permitted to submit evidence or call witnesses
to support his claims.

        Notwithstanding, Defendants are fully aware that the officers listed within the JPTO were
within the realm of possibility to be called on as witnesses were previously listed as potential fact
witnesses as part of Plaintiff’s initial disclosures.

        Dr. Hausknecht was fully disclosed by Plaintiff as Plaintiff’s expert witness along with his
medical report of Plaintiff Guarniere. There is no prejudice as Defendants have been fully aware
that Plaintiff intends to call Dr. Hausknecht as a trial witness.

        Plaintiff was questioned by defendants at length regarding Ms. Foto Athansidisis during
both of his depositions this past November and neither defendant has ever expressed any interested
in deposing her.
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        In the alternative, Plaintiff asks to offer into evidence the video of the incident as posted in
the New York Post, medical records from Complete Care, and the Narrative Report of Doctor
Hausknecht. All evidence to be offered has been previously exchanged with Defendant City and
thus there is no prejudice to their defense. They have been made fully aware of the existence of
these records, have had ample time to review and prepare their defense, and the highly probable
chance that these records would be admitted into evidence.

       Any bar to the admissibility of such probative and credible trial evidence would result in
tremendous prejudice to Plaintiff whose claims become less likely to prevail. Also, as Plaintiff
claims stem from the violations of his rights under the Constitution of the United States by state
actors who swore to uphold those very same rights, the preclusion of credible and probative
evidence should be considered without compelling cause.

         Defendant City’s portrayal of the events leading up to the filing of the JPTO is intentionally
leaving out very important facts. On March 2, 2023, Defendant City’s counsel, Mr. Braun, did
reach out to discuss the exchange of the JPTO drafts but as it was meant to be a joint Pretrial Order,
Plaintiff counsel offered to spend time and work on the JPTO jointly to which Defendant counsel
Braun turned down. He instead insisted, demanded and then set his own deadlines for Plaintiff to
turn over their portion of the JPTO. The City then seems to argue that the departure of yet another
attorney from the law department assigned to this case results in any prejudice to the City,
whatsoever. Prejudice cannot be imputed onto the City solely because their own attorney assigned
to a trial has made other career plans.

         Finally, the City disingenuously implies that defendants provided Plaintiff with their
completed portions of the JPTO on March 20, 2023. This is patently untrue which can be readily
determined from even a cursory review of the JPTO served on Plaintiff, a copy of which is attached
hereto, as Plaintiff’s Exhibit 1. On March 20, 2023, defendants emailed the undersigned a
purported copy of their completed portions of the JPTO. The only completed portion however,
was the section dedicated to the contact information of trial counsel. Clearly, cooperating to submit
a pretrial order that achieves its mission of making trial more manageable was not seriously
considered. Plaintiff has also attached his Exhibit List, Proposed Jury Charges and Proposed
Verdict Sheet, as Plaintiff’s Exhibits 2-4, respectively. 1

           Thank you for your consideration herein.


                                                                  Respectfully submitted,


                                                                  /s/ Samuel C. DePaola
                                                                  Samuel C. DePaola, Esq.
                                                                  Attorney for Plaintiff
                                                                  sdepaola@simdepaola.com



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    Plaintiff does not object to the Proposed Voir Dire Instructions Filed by Defendants.
